












NUMBER 13-03-327-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


__________________________________________________________________


BILLY LEE ALMAN, JR.,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

__________________________________________________________________


On appeal from the 105th District Court 


of Nueces County, Texas.


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MEMORANDUM OPINION



Before Justices Rodriguez, Castillo, and Garza


Opinion Per Curiam



	Appellant, BILLY LEE ALMAN, JR., perfected an appeal from a judgment entered
by the 105th District Court of Nueces County, Texas,  in cause number 02-CR-3777-D.  Appellant has filed a motion to dismiss the appeal.  The motion complies with Tex.
R. App. P. 42.2(a).

	The Court, having considered the documents on file and appellant's motion to
dismiss the appeal, is of the opinion that appellant's motion to dismiss the appeal
should be granted.  Appellant's motion to dismiss the appeal is granted, and the appeal
is hereby DISMISSED.

							PER CURIAM

Do not publish.

Tex. R. App. P. 47.2(b).

Opinion delivered and filed this

the 6th day of November, 2003.


